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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

                                    )
JAMES PRICE,                        )
                                    )
                  Plaintiff,        )
                                    )
      v.                            )               Civil Action No. 18-1339 (CRC)
                                    )
UNITED STATES DEPARTMENT            )
OF JUSTICE,                         )
                                    )
                  Defendant.        )
____________________________________)


                                      [PROPOSED] ORDER

         Upon consideration of Defendants’ Motion to Modify Briefing Schedule, and for good

cause shown, it is hereby:

         ORDERED that Defendants’ motion to modify briefing schedule is GRANTED

         ORDERED that the current briefing schedule be MODIFIED as follows:

(1) by October 21, 2020, Defendants shall file their renewed motion for summary judgment with

respect to the FOIA claims; (2) by November 20, 2020, Defendants shall file their motion for

summary judgment with respect to the APA/FRA claims; (3) by December 21, 2020, Plaintiff

shall file his combined opposition and cross-motion for summary judgment; (4) by January 11,

2021, Defendants shall file their combined opposition and reply; and (5) by February 1, 2021,

Plaintiff shall file his reply to cross motion

Dated:

                                                           ________________________
                                                           CHRISTOPHER R. COOPER
                                                           United States District Judge
